                         Case 6:20-cv-00585-ADA Document 272-15 Filed 10/04/23 Page 1 of 5
           -
                Phones   Earbuds    Watches    SmartHome           Laptops        Accessories      Subscriptions
                                                                                                            .




                                                                                                                        Offers                                                                                         Q            e   ¥      2
                                   Overview (rechSpecs ) Compare
                                                                                                                                                           From $809.10 &899 ar $33.71 $37.46/month for 24 months
                                                                                                                                                                                                                                        TONY
            .

           Pixel 6 Pro                                                                Ways to buy
                                       .
                                       .




                                                                                                                                                                           with 24 month 0%   APR Google   Store   Financing’




                                                                                  Pixel 6 Pro: Under the hood.




                                                             in                             vale

                                                 (GlecRomaalaa))                       (170 mm)




                                                                             IP                 in

                                                                                       (Vso mann




                                                                                                Three striking colors
                                                                                                  to choose from.




                                              Cloudy White                                                               Sorta Sunny                                             Stormy Black




                         Tech Specs                                                                        Display
                                                                                                                Full-screen 6.7-inch (170 mm) display 19.5:9 aspect ratio QHD+ (1440 x 3120) LTPO...



                                                                                                                Dimensions and          Weight*                                                                                 v




PLAINTIFF EXHIBIT                                                                                               6.5   height x 3.0 width x 0.4 depth (inches) 163.9 height x 75.9 width x 8.9 depth (m...

                                                                                                                Battery and Charging
 PTX-490
                                                                                                                                                                                                                                v




                                                                                                                24-hour+ battery life Up to 48-hour battery life with Extreme Battery Saver Minimu...
                                                                                                                                                                                                   -
 6:20-cv-572/580/584/585
                                                                                                                                                                                                                                          PTX-490-0001
                                                                                                                                                                                                       GOOG-WS0OU585-00139528
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                          Memory and Storage                                                                              v




                          12 GB             RAM 128 GB / 256 GB   / 512 GB UFS 3.1 storage

                          Processors                                                                                      v




                          Google Tensor Titan M2™ security coprocessor

                          Security and Updates                                                                            v




                          End-to-end security designed by Google Multi-layer hardware security: Security co...



                          Rear Camera                                                                                     v




                          50 MP Octa PD Quad Bayer wide camera 1.2 um         pixel width £/1.85 aperture 82° field...

                          Front Camera                                                                                    ¥




                          11.1 MP 1.22 um   pixel width f/2.2 aperture Fixed focus 94° ultrawide field of view

                          Camera Features                                                                                 v




                          Magic Eraser Motion Mode Real Tone™ Face Unblur Panorama Manual white balanci...

                          Video                                                                                           v




                          Rear camera 4K video
                                       -



                                                    recording at 30 FPS, 60 FPS 1080p video recording at 30 FP...


                          Sensors                                                                                         v




                          Proximity sensor Ambient light sensor Accelerometer Gyrometer Magnetometer Bar...

                          Buttons & Ports

                          USB Type-C® 3.1 Gen 1 Power button Volume controls



                          SIMs                                                                                            v




                          Dual SIM (Single Nano SIM and eSIM)



                          Media & Audio                                                                                   v




                          Stereo speakers 3 microphones Noise suppression



                          Connectivity & Location                                                                         v




                          Wi-Fi 6 (802.11ax) and 6E (6GHz) with MIMO Bluetooth® v5.2 with dual antennas for         ...




                          Network’®                                                                                       v




                          [5G Sub 6GHz] Model GLUOG GSM/EDGE: Quad-band (850, 900, 1800, 1900 MHz)...



                          Authentication                                                                                  v




                          Fingerprint Unlock with under-display fingerprint sensor Pattern, PIN, password

                          Materials                                                                                       v




                          Scratch-resistant Corning® Gorilla® Glass Victus™ cover glass Edgeless Corning® Go...



                          AR/VR                                                                                           v




                          AR Core



                          Hearing Aid Compatibility
                          M3/T4 HAC Rating     Google’s devices meet the hearing aid compatibility (HAC) requir...

                          Warranty                                                                                        v




                          1 year




What's in the box         1m USB-C to USB-C cable (USB 2.0)


                          Quick Start Guide



                                                                                                                              PTX-490-0002
                                                                                                              GOOG-WS0OU585-00139529
Case 6:20-cv-00585-ADA DocumentAdapter
                                 272-15 Filed 10/04/23 Page 3 of 5
                                        Quick Switch


                                        SIM tool




Compare Pixel phones.
 Compare all




                              Apps to enrich your life.
                              Already on your phone.

                  r
                             o                     Iv
               Google Maps   YouTube                  Gmail      Google Chrame      Google Photos




                o            O                       *
                Recorder     Messages          Personal Safety   Google Calendar   Google Assistant




                              Find a payment plan
                              that works for you.
                                                   See options




                                                                                                                PTX-490-0003
                                                                                                      GOOG-WS0OU585-00139530
                     Case 6:20-cv-00585-ADA Document 272-15 Filed 10/04/23 Page 4 of 5




Trade in your old phone for                                                       Finance your Pixel.”                                              Preferred Care for added                                                   Free       shipping.’
                     money back.4                                                                                                                               protection.
                       Learn more                                                           Learn more                                                             Learn more                                                       Learn more




         Mcasured diagonally; dimension may vary by canfiguration and manufacturing process

         Nat available far all apps or content.   Display automatically adjusts lo aptimize for best viewing and battery perfarmance.
         Dimensions and weight vary by      configuration and manufacturing process.
         For “24 hour”: Maximum   baltery life based an testing using a mix of talk, data, standby, and use of ather features. Baltery testing conducted using two major carrier networks using Sub 6 GHenon standalone 5G (ENDC) connectivity. Far
         “Up to 48 hours”; Maximum battery life based on testing using a mix of talk, data, standby, and usc of limited
         Battery testing
                                                                                                                               other features
                                                                                                                                         that are default in Extreme Battery Saver mode (which disables
                                                                                                                                                                                                                various features
                                                                                                                                                                                                                      including 5G connectivity).
                         conducted using two major carrier networks, For both claims: Battery testing conducted by a third party in California in mid 2021 on pre production hardware and software using default settings, except that, for the “up to
         48 hour” claim only, Extreme Battery Saver mode was enabled. Battery life        depends upon many factors and usage af certain features will decrease battery life. Actual battery life may be lower.
 »
         Estimate of typical capacity based upon testing and expected cell behavior.

         Fast wired   charging rates are based upon use of the Google 30W UISB-C* Charger plugged into a            wall outlet. Compatible with USB PD 3.0 PPS adapters. Actual results may be slower. Adapters sald separately. Charging speed based upan

         testing with device batteries drained to 1% and charged with Google 3OW USB-C: Charger, sold separately. Charging testing conducted by Google in mid-2021 on pre-production hardware and software using default settings with the
         device pawered an. Charging speed depends upon many factors including
                                                                                          usageduring
                                                                                             charging, battery age, and ambienl temperature. Actual charging speed may be slawer.
 ?
         Wireless charging ratcs up to 21W (Pixel 6) and up to 23W (Pixcl 6 Pro) charging with Google Pixcl Stand (2nd          gen} (sold separatcly). Up to 12W with Qi-certified EPP chargers (sold scparatcly), Actual results may bc slowcr.
 8
         Designed to charge Gi-certified devices. Use af reverse wireless charging significantly reduces Pixel battery life. Cases may inlerfere with charging and will reduce charging speed. Charge speeds may vary. See
         g.co/pixclwirelesscharging for more information.
 *
         Storage specifications refer to capacity before formatting. Actual formatted capacity will be less.
          Pixel security updates for at least 5 years from when the device first became available on the Google Store in the U.S. Updates may alse include feature draps and other softwarc updates. Scc 9 cs/viag             /uedates



                                                                                                                                                                                                                                          for   more information


 “|
         Maximum resolution and field of view wilh RAW image files       setting turned on. Setting is turned off by defaull. See g.coypixel/anotsediting for mare infarmatian.
     7
         Not available for all camera apps or modes

     ?
         Default camera app in 4K30 mode.

     4
          Feature is carrier   dependent. Not supported by all carriers or in all countries. Contact carrier for details
     ®
          Requires compatible device. Accuracy dependent upon distance, orientation, signal obstruction and other factors. Not cnabled at initial product release.
 “4
          Pixel 6 and Pixel 6 Pro wark an major carrier networks. Contact carrier for delails. 5G service is carrier dependent. See                     work ta.

     *

         Requires a 5G data plan (sold separately). 5G service not available on all carrier nctworks ar in all areas. Contact carricr for details. 5G servicc, speed and performance depend on many factors including, but not limited to, carrier
         network capabilities, device configuration and capabilities, network traffic, location, signal strength and signal obstruction. Actual results may vary, Some features not available in all areas, Data rates may apply. Seeg.ccvnixe
         for info.

     8
         Designed to comply with water protection rating IPXB under IEC standard 60529 when each device leaves the factory but device is nat waterproof, The accessories are not water resistant. Water resistance is not a permanent candition,
         and diminishes or is lost over time due to narmal wear and tear, device repair, disassembly or damage.            Dropping your device may result in loss af water resistance. Liquid damage voids the warranty. See g.cc/pixel/water.
     *
          Magic Eraser may not work on all image elements
 USB-C* is a trademark of USE implementers Forum

 The Blueteath? word mark and logos are registered trademarks owned by Bluetooth SIG, Inc.

 ®
         Credit card refund only available if a Pixel phone is purchased. Phone trade-in value depends on the cligibility of the phone traded in. Phone trade-in credit will be issucd as a refund back on the credit card used for the phone purchase
         at   Google Store or in the farm of Store Credit if the purchased phone has already been returned. Refund! is based an (and paid after) phone received matching the description provided at time of estimate and will be issued to form of
         payment used for arder. Phones sent for trade in musl be received within 30 days of initiation of trade-in process, provided the purchased device has not been returned during that time.
         0% APR with equal monthly payments on phone purchases:       Google Store Financing is a credit card account issued and serviced solely by Synchrony Bank and can be used only for purchases at store.qoogle.com. Credit card
 *




         application decisians are made solely by Synchrony Bank. The estimated monthly payment shown an any phone purchase may be raunded up to the nexi whole dollar ar may be shown rounded to the whale cenl, but in either event only
         applies with the use of a Google Store Financing credit card account. Sec your billing statement for your actual equal monthly payment required, which will bc rounded to the whole cent. if you make your payments by the duc date cach
         month, the monthly payment (adjusted for taxes, shipping and any ather items purchased in the same sales transaction) should allaw you to pay off the phone purchase within the number of months advertised if this balance is the only
         balance on your account during that time periad. If you have other balances on your accaunt, this monthly payment will be added to the monthly payment applicable ta those balances. For new accounts: Phone purchanes (any
         transaction that includes a    phone) APR is 0.00%. All other (regular) purchase APR is 29.99%. Minimum interest charge is $2.00. APRs are accurate as of 08/01/20. Subject to credit approval.
 '
         All orders that ship free use Lhe lowest-cost option unless otherwise noted.




   0% APR on Pixel Pass Purchase. Google Storc Financing is a credit card account issued and serviced solcly by Synchrony Bank and can be uscd only for purchases at storc.googlc.com. Credit card application decisions arc made
 solely by Synchrony Bank. A Pixel Pass Purchase includes a Pixel and Preferred Care (a “Bundled Phone Purchase") and the Goagle services you selec! (a “Bundled Subscription Purchase"), The estimaled manthly payments shown an
 the Bundled Phone Purchase is cqual to the purchase amount divided by 24, raunded to the whole cent. The monthly payment for the Bundled Subscription Purchase is billed and duc in total ach month. Sce your Google Store
 Financing billing statement for your actual manthly payments required. If you make your payments by the due date each manth, the manthly payments ‘adjusled for taxes and shipping) should allow you to pay off the Pixel Pass
 Purchase within the number of months advertised if these are the only balances an your account during that time period. If you have other balances on your account, these monthly payments will be added to the monthly payment
 applicable ta thase balances. For new accounts: Phane              PurchaseAPR
                                                                       is 0.00%. All other (regular) purchase APR is 29.99%. Minimum interest charge is $2.00 APR’s are accurate as of OV01/20. Subject ta credit approval




 Limited time offer. US residents only. Unless otherwise allawed, this affer cannot be cambined with other offers. Offer is non-transferable and not valid for cash or cash equivalent. Void where prohibited




                                                                                                                                                                                                 Placing an order                  Help Center

                                                                                                                                                                                                 Shipping options                  Contact Us


                                                                                                                                                                                                 Tracking a package                Financing

                                                                                                                                                                                                 Country availability              Device       recycling

                                                                                                                                                                                                 Repairs                           Sustainability

                                                                                                                                                                                                 Installation                      Gift returns



                                                                                                                                                                                                                                                                   PTX-490-0004
                                                                                                                                                                                                                               GOOG-WS0U585-00139531
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                                                  Ideas Info
                                                             PageRefurbished
                                                                  5 of 5                  &


                                                                                                              Trade-in


                                                                                                               Pixel for Business


                                                                                                               Locations




YOHs                               ME
                                        Uried States   Privacy   Google Commitrient Privacy
                                                                      Nest          to
                                                                                              Sales   Teme
                                                                                                              Termsof Service       Careers




                                                                                                                                        PTX-490-0005
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